                  UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF TENNESSEE NASHVILLE
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                                                             Case No. 3:24-cv-00440
IAN HUNTER LUCAS,                               :
                               Plaintiff,       :
                                                             District Judge

                                                             Hon. Waverly D. Crenshaw, Jr.
                       v.                       :
THE VANDERBILT UNIVERSITY,                      :            Magistrate Judge
                                                             Hon. Jeffrey S. Frensley
                               Defendant.       :
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PLAINTIFFS (2nd) MOTION FOR EMERGENCY TEMPORARY RESTRAINING ORDER

 AND/OR PRELIMINARY INJUNCTION WITH REQUEST FOR EVIDENTIARY HEARING




       INTRODUCTION

       Plaintiff Ian H. Lucas submits this Application for a Temporary Restraining Order

to prevent further irreparable harm resulting from his wrongful expulsion from The

Vanderbilt University. This motion is filed with the U.S. District Court for the Middle

District of Tennessee, seeking immediate judicial intervention to halt the enforcement of

the expulsion pending a full hearing on the merits of the case. The urgency of this request

is driven by the substantial and ongoing harm being inflicted on Mr. Lucas due to The

Vanderbilt University’s actions. Immediate court action is essential to preserve Mr.

Lucas’s rights and to prevent further damage to his academic and professional future.

   FACTUAL BACKGROUND

   This Motion for Temporary Restraining Order and/or Preliminary Injunction is brought

by Ian H. Lucas ("Plaintiff") against The Vanderbilt University ("Defendant") in the U.S.




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District Court for the Middle District of Tennessee. The Plaintiff seeks injunctive relief to

prevent irreparable harm that has already resulted, in that in.a failure for injunctive relief

to be granted in January, the plaintiff was not able to complete his studies and graduate in

May 2024, despite there being precedent and supporting case law that demonstrated

irreparable harm was present and continue to be present lifelong without intervention.

would result from the Defendant's actions, as detailed herein.

   The factual background pertinent to this Application for Temporary Restraining Order

and Injunctive Relief includes the following:

   1. Timeline of Events:

          o   On April 15, 2024, Plaintiff was informed of his expulsion from The

              Vanderbilt University.

          o   The expulsion was based on allegations of academic misconduct that were

              not substantiated with concrete evidence.

          o   Plaintiff was not given a fair opportunity to defend himself, as he was not

              informed of the specific charges or allowed to confront his accusers.

   2. Nature of the Alleged Harm:

          o   The expulsion has caused immediate and irreparable injury to Plaintiff’s

              academic standing and future career prospects.

          o   Plaintiff’s reputation has been adversely affected, causing emotional distress

              and financial hardship due to the loss of scholarships and potential future

              earnings.


       The Plaintiff asserts that if the Defendant’s actions are not restrained by this

Court, they will cause immediate and irreparable injury, loss, or damage before the matter

can be heard on notice. Therefore, the Plaintiff respectfully requests that this Court grant



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a Temporary Restraining Order and/or Preliminary Injunction to maintain the status quo

and prevent the Defendant from continuing its harmful actions pending a full hearing on

the merits of the case.

   EXPLANATION OF WHY THE EXPULSION WAS UNJUSTIFIED

   The Plaintiff, Ian H. Lucas, asserts that his expulsion from The Vanderbilt University

was unjustified, highlighting several procedural deficiencies and a lack of due process that

underpin his claim. The Plaintiff outlines the following key points to support this

assertion:


   1. Violation of Due Process:

             o   The expulsion process was initiated and concluded without providing the

                 Plaintiff with a fair and reasonable opportunity to present his case, violating

                 the principles of natural justice and due process as required by law.

   2. Lack of Specificity in Charges:

             o   The University failed to provide a detailed explanation of the charges

                 against the Plaintiff, denying him the opportunity to adequately prepare his

                 defense.

   3. Insufficient Evidence:

             o   The decision to expel the Plaintiff was made without sufficient evidence, and

                 the evidence that was considered was not disclosed to the Plaintiff, further

                 violating his rights to a fair hearing and to confront witnesses against him.

   4. Lack of Transparency:

             o   There was a lack of transparency in the proceedings, with the Plaintiff being

                 excluded from parts of the process that directly affected his standing and

                 rights within the University community.


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      5. Disproportionate Disciplinary Measures:

             o   The disciplinary measures taken were disproportionate to the allegations

                 made, suggesting that the expulsion was not a justified response to the

                 supposed infractions.


         Based on these points, the Plaintiff seeks relief from this Court to reverse the

expulsion decision and to be reinstated to his academic position, asserting that the process

was fundamentally flawed and did not meet the standards of fairness and justice expected

in such proceedings.

      ATTEMPTS TO RESOLVE ISSUE

      Prior to initiating this action, Plaintiff, Ian H. Lucas, made multiple good faith

attempts to resolve the underlying issue of his wrongful expulsion from The Vanderbilt

University without resorting to litigation. These attempts included, but were not limited

to:


      1. Direct Communication with University Officials:

             o   Plaintiff engaged in several discussions with university officials, seeking a

                 resolution that would allow him to continue his education without litigation.

      2. Formal Appeal:

             o   Plaintiff submitted a formal appeal against the expulsion decision, outlining

                 the procedural deficiencies and lack of evidence supporting the expulsion.

      3. Mediation:

             o   Plaintiff requested both informally and formally through motion of the court

                 in order to seek mediation to amicably settle the dispute, and understand

                 defendants viewpoint and allegations which are still unclear given the ever




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               changing scenario that unfolded, in an attempt to demonstrate my

               willingness to resolve the matter outside of court, or attempt to understand

               the concern, however, defendants were never able to articulate a clear and

               effective concern, and furthermore concerns that were articulated could not

               be correlated to plaintiffs questions on lack of evidentiary pattern.


       Despite these efforts, The Vanderbilt University did not provide a satisfactory

resolution, leaving Plaintiff with no alternative but to seek judicial intervention to protect

his rights and interests.

   LEGAL STANDARD

   The legal standard for the issuance of a Temporary Restraining Order (TRO) and/or

Preliminary Injunction in the U.S. District Court for the Middle District of Tennessee

requires the movant, Ian H. Lucas, to demonstrate:


   1. Likelihood of Success on the Merits:

           o   Plaintiff must show a substantial likelihood that he will prevail on the

               merits of the case.

   2. Irreparable Harm:

           o   Plaintiff must demonstrate that he is likely to suffer irreparable harm in the

               absence of preliminary relief.

   3. Balance of Equities:

           o   Plaintiff must prove that the balance of equities tips in his favor.

   4. Public Interest:

           o   Plaintiff must establish that an injunction is in the public interest.




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       This standard is derived from the Supreme Court’s decision in Winter v. Natural

Resources Defense Council, Inc., 555 U.S. 7 (2008), which articulates the framework for

courts to follow when considering requests for such injunctive relief. The Court

emphasized the necessity for plaintiffs to demonstrate a likelihood of irreparable injury,

not just the possibility, as a prerequisite for securing a preliminary injunction or TRO.

   ARGUMENT

   The Plaintiff, Ian H. Lucas, submits this Motion for a Temporary Restraining Order

and/or Preliminary Injunction against the Defendant, The Vanderbilt University, pursuant

to the applicable laws and rules governing such matters in the U.S. District Court for the

Middle District of Tennessee. In support of this Motion, the Plaintiff presents the following

arguments:

   1. Likelihood of Success on the Merits:

          o   The Plaintiff argues that there is a substantial likelihood that he will prevail

              on the merits of the underlying case. This assertion is based on the

              preliminary evidence and legal theories that underpin the Plaintiff’s claims

              against the Defendant, including the procedural deficiencies and violations

              of due process outlined earlier.

   2. Irreparable Harm:

          o   The Plaintiff contends that, without the issuance of a Temporary

              Restraining Order and/or Preliminary Injunction, he will suffer irreparable

              harm for which there is no adequate remedy at law. This harm is immediate,

              ongoing, and cannot be fully remedied by monetary damages alone. The

              expulsion has already caused significant disruption to Plaintiff’s educational

              and professional future, which will continue without court intervention.




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           A. Educational Opportunities and Academic Progress:


              ▪   The expulsion prevents Plaintiff from continuing his education and

                  progressing towards his degree. Interruptions in academic

                  progression can lead to substantial setbacks, including the loss of

                  academic credits, delayed graduation, and diminished opportunities

                  for further education or advanced studies. Citing D.D. ex rel. Davis v.

                  Unified School District No. 259, 465 F.3d 1184 (6th Cir. 2006), where

                  the court recognized that the loss of educational opportunities

                  constitutes irreparable harm because they cannot be adequately

                  compensated by money damages.


           B. Professional and Career Prospects:


              ▪   Plaintiff’s expulsion severely hampers his future career opportunities.

                  Many professional fields require a clean academic record and the

                  completion of specific degrees. This expulsion casts a shadow on

                  Plaintiff’s character and qualifications, making it exceedingly difficult

                  for him to secure employment or further educational opportunities.

                  In Overstreet v. Lexington-Fayette Urban County Government, 305

                  F.3d 566 (6th Cir. 2002), the court acknowledged that harm to an

                  individual’s reputation and professional opportunities is considered

                  irreparable, as it can have long-lasting effects that are not easily

                  quantifiable or compensable.


           C. Emotional and Psychological Impact:



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               ▪   The experience of being wrongfully expelled and the associated

                   stigma can cause severe emotional distress and psychological harm.

                   This harm is not only immediate but can also have long-term effects

                   on Plaintiff’s mental health and well-being. The Sixth Circuit has

                   recognized that emotional and psychological harm can constitute

                   irreparable injury, as seen in Jones v. Caruso, 569 F.3d 258 (6th Cir.

                   2009), where the court held that the loss of constitutional rights,

                   including due process, for even minimal periods constitutes

                   irreparable harm.


            D. Financial Hardship and Loss of Scholarships:


               ▪   The expulsion has resulted in the immediate loss of scholarships and

                   financial aid, placing a significant financial burden on the Plaintiff.

                   This financial hardship exacerbates the irreparable harm, as the loss

                   of funding can prevent Plaintiff from continuing his education

                   elsewhere. Monetary damages cannot fully compensate for the

                   disruption and financial strain caused by the loss of scholarships and

                   the resultant need to find alternative funding sources.




  3. Balance of Equities:

        o   The Plaintiff argues that the balance of equities tips in his favor. The harm

            that Plaintiff will suffer in the absence of injunctive relief far outweighs any

            potential harm to the Defendant should the injunction be granted. The




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            University’s interests can be adequately protected without expelling the

            Plaintiff, whereas the Plaintiff’s academic and professional future is at

            significant risk.


            A. Minimal Harm to Defendant:


               ▪   Granting the TRO and Preliminary Injunction will maintain the

                   status quo and allow Plaintiff to continue his education while the case

                   is adjudicated. The University faces minimal harm, as it can continue

                   to monitor Plaintiff's behavior and enforce other less severe

                   disciplinary measures if necessary.


            B. Preservation of Plaintiff’s Rights:


               ▪   The balance of equities favors preserving the Plaintiff’s rights and

                   future opportunities. The irreparable harm Plaintiff faces far

                   outweighs any administrative inconvenience to the University.

                   Ensuring fair and just treatment of students aligns with the

                   University’s mission and public perception.

  4. Public Interest:

        o   Finally, the Plaintiff asserts that granting the Temporary Restraining Order

            and/or Preliminary Injunction is in the public interest. The relief sought will

            prevent harm to the Plaintiff that could otherwise have broader implications

            for the community at large, including the importance of fair and just

            disciplinary processes in educational institutions.


            A. Upholding Due Process Rights:


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                 ▪   Granting the TRO and Preliminary Injunction reinforces the

                     importance of due process rights in educational settings. Ensuring

                     that students receive fair treatment and are not subjected to

                     arbitrary or unjust disciplinary actions serves the public interest by

                     upholding the rule of law and principles of justice.


              B. Deterrence of Unfair Disciplinary Practices:


                 ▪   The issuance of injunctive relief can serve as a deterrent to

                     educational institutions from engaging in unfair or opaque

                     disciplinary practices. It signals to other universities that procedural

                     fairness and transparency are paramount, thereby promoting better

                     governance and accountability.


              C. Protection of Students’ Educational and Career Futures:


                 ▪   Protecting students from irreparable harm due to unjust disciplinary

                     actions aligns with the public interest in fostering a fair and

                     supportive educational environment. Students should be assured that

                     their academic and professional futures will not be unduly

                     jeopardized by inadequate or biased disciplinary processes.


       CONCLUSION

       In conclusion, the Plaintiff, Ian H. Lucas, respectfully requests that this Honorable

Court grant a Temporary Restraining Order and/or Preliminary Injunction against the

Defendant, The Vanderbilt University. This relief is sought to prevent immediate and

irreparable harm to the Plaintiff’s academic and professional future, which could result


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without the Court’s intervention. The Plaintiff has demonstrated a likelihood of success on

the merits of the case, and the balance of equities tips decidedly in his favor. Without the

issuance of the requested order, the Plaintiff faces significant disruptions to his

educational pursuits and career prospects, which cannot be adequately compensated by

monetary damages alone.

          Therefore, it is imperative that this Court act swiftly to protect the Plaintiff’s rights

and interests by granting the requested Temporary Restraining Order and/or Preliminary

Injunction.

          Respectfully Submitted for Consideration in support of the motion for TRO,
          IN WITNESS WHEREOF, I have hereunto set my hand this __11th__ day of
          ____JULY__________, 2024.

/S/ Ian H. Lucas
Electronically Signed
Ian H. Lucas, Plaintiff Pro Se




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                               CERTIFICATE OF EX PARTE FILING

     I, Ian H. Lucas, hereby certify that this filing was made with the court on an ex
     parte basis due to the urgent nature of the request and the immediate and
     irreparable harm that could result to me if the relief sought is not granted before the
     Respondent can be heard. Given the circumstances outlined in my motion for a
     temporary restraining order and/or preliminary injunction, it is imperative that the
     Court reviews and, if deemed appropriate, grants the requested relief without the
     usual notice to the opposing party. This approach is justified by the need to prevent
     the imminent and substantial harm that delay in the provision of relief could cause.

     This certificate accompanies my motion for a temporary restraining order and/or
     preliminary injunction against The Vanderbilt University, seeking immediate
     judicial intervention to halt the enforcement of my expulsion pending a thorough
     and impartial review of my case.

     In accordance with the relevant federal rules and the practices of the U.S. District
     Court for the Middle District of Tennessee, I understand the obligations and
     implications of seeking ex parte relief and assert that this filing is made in good
     faith and not for the purpose of undue advantage or to cause unnecessary harm or
     burden to the Respondent.

     I further certify that a copy of this motion and accompanying documents will be
     served upon the Respondent in a manner prescribed by law at the earliest possible
     time, consistent with the Court’s directions and the exigencies of this situation.

     Dated this __11th__ day of ___July______, 2024.

     /S/ Ian H. Lucas
     Electronically Signed


     Ian H. Lucas
     Plaintiff Pro Se




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